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               FEDERAL PUBLIC DEFENDER OFFICE
                         DISTRICT OF MASSACHUSETTS
                            (Temporary Mailing Address)
                                   P.O. BOX 51268
                           BOSTON, MASSACHUSETTS 02205

                                                                  TELEPHONE: 617-223-8061
                                                               TEMPORARY FAX: 617-639-9023


                                                          October 4, 2021

VIA EMAIL


Assistant U.S. Attorney David Tobin
U.S. Attorney’s Office
One Courthouse Way, Suite 9200
Boston, MA 02210


              RE:      United States v. Walace Lima
                       No. 21-cr-10227-DJC


Dear Attorney Tobin:

I have reviewed the discovery you provided on September 7, 2021, and am writing to
request the following additional items of discovery in accordance with Local Rule
116.3(a).

              1. Subpoena issued to Comcast and records produced by Comcast as
                 referenced on page 4 of SA Back’s search warrant affidavit.
                 Fed.R.Crim.P. 16(a)(1)(E).

              2. Photographs taken during the execution of the search warrant at Mr.
                 Lima’s residence on December 16, 2020 and referenced in USAO_0010-
                 0011. Fed.R.Crim.P. 16(a)(1)(E).

              3. Copy of information obtained by law enforcement of other people residing
                 in apartment that was subject of search warrant and reference on page 8 of
                 SA Back’s search warrant affidavit. Brady v. Maryland, 373 U.S. 83
                 (1963); Local Rule 116.2(b)(1)(A).

              4. Any statements made by other people present in the apartment at the time
                 of the search warrant execution on December 16, 2020 (names listed on
                 USAO_10). Brady v. Maryland, 373 U.S. 83 (1963); Local Rule
                 116.2(b)(1)(A).

              5. Any recording of Mr. Lima’s interrogation by agents described in
                 USAO_0008-0009. Fed.R.Crim.P. 16(a)(1)(B)(i).
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               6. Any notes taken by agents at the time of their interrogation of Mr. Lima
                  described in USAO_0008-0009. Fed.R.Crim.P. 16(a)(1)(B)(ii).

               7. Whether or not Mr. Lima was administered a polygraph examination, as
                  referenced in USAO_0009, and, if so, the results of such examination,
                  recording of such examination, and statements made by Mr. Lima in the
                  course of such examination. Fed.R.Crim.P. 16(a)(1)(A); Fed.R.Crim.P.
                  16(a)(1)(B)(i); Fed.R.Crim.P. 16(a)(1)(F); Brady v. Maryland, 373 U.S.
                  83 (1963); Local Rule 116.2(a)(4) and Local Rule 116.2(b)(4).


Please note that the defendant may file additional discovery requests based on further
discovery and investigation.

If you have any questions regarding these requests, please contact me at (617) 223-
8061 or jane_peachy@fd.org. Thank you for your cooperation in this matter.

                                                            Sincerely,

                                                            /s/ Jane Peachy
                                                            Jane Peachy,
                                                            Assistant Federal Public Defender


cc:    Clerk’s Office, United States District Court (via ECF)
       Walace Lima
